         Case 1:19-cr-00410-TWT-CCB Document 1 Filed 10/22/19 Page 1 of 3
                                                                            FILED IN OPEN COURT
ORIGINAL                                                                       u.s.o.c. .Atlanta

                                                                            OCT 2 2 2019
                                                                        JAMES N. HATTEN, Clerk
                                                                      By:
                    IN THE UNITED STATES DISTRICT COURT                                  Deputy Clerk

                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


      UNITED STATES OF AMERICA
                                                Criminal Indictment
            V.
      HAKIM AMAL ARCHIBLE
                                                No.   1: 19-CR-410
   THE GRAND JURY CHARGES THAT:

                                       Count One
      On or about November 25, 2014, in the Northern District of Georgia, the
   defendant, HAKIM AMAL ARCHIBLE, aided and abetted by others known and
   unknown to the Grand Jury, filed and attempted to file in the public record of the
   Fayette County, Georgia clerk's office a false lien and encumbrance against the
   real and personal property of John Koskinen, an officer and employee of the
   United States Government described in Title 18, United State Code, Section 1114,
   on account of the performance of official duties by John Koskinen, knowing and
   having reason to know that such lien and encumbrance was false and contained
   materially false, fictitious, and fraudulent statements and representations,
   including a statement claiming John Koskinen as debtor and responsible party
   for a $5,000 federal tax penalty issued to the defendant for the 2013 tax period, all
   in violation of Title 18, United States Code, Section 1521 and Section 2.
      Case 1:19-cr-00410-TWT-CCB Document 1 Filed 10/22/19 Page 2 of 3




                                   Count Two
   On or about December 9, 2014, in the Northern District of Georgia, the
defendant, HAKIM AMAL ARCHIBLE, aided and abetted by others known and
unknown to the Grand Jury, filed and attempted to file in the public record of the
Fayette County, Georgia clerk's office a false lien and encumbrance against the
real and personal property of Jacob Jack Lew, an officer and employee of the
United States Government described in Title 18, United State Code, Section 1114,
on account of the performance of official duties by Jacob Jack Lew, knowing and
having reason to know that such lien and encumbrance was false and contained
materially false, fictitious, and fraudulent statements and representations,
including a statement claiming Jacob Jack Lew as debtor and responsible party
for among other things, a "chargeback order" in the amount of $100 billon, all in
violation of Title 18, United States Code, Section 1521 and Section 2.

                                   Count Three
   On or about August 5, 2015, in the Northern District of Georgia, the
defendant, HAKIM AMAL ARCHIBLE, aided and abetted by others known and
unknown to the Grand Jury, filed and attempted to file in the public record of the
Fayette County, Georgia clerk's office a false lien and encumbrance against the
real and personal property of Jacob Jack Lew, an officer and employee of the
United States Government described in Title 18, United State Code, Section 1114,
on account of the performance of official duties by Jacob Jack Lew, knowing and
having reason to know that such lien and encumbrance was false and contained
materially false, fictitious, and fraudulent statements and representations,
                                         2
       Case 1:19-cr-00410-TWT-CCB Document 1 Filed 10/22/19 Page 3 of 3




including a statement claiming Jacob Jack Lew as debtor and responsible party
for a "registered bona fide security" in the amount of $10 billion, all in violation
of Title 18, United States Code, Section 1521 and Section 2.

                                          A                                    BILL


                                                      FOREPERSON
 BYUNG J. PAK
     ed Stat s Attorney

     EL ADAMS
  Assistant United States Attorney
 Georgia Bar No. 613114

 600 U.S. Courthouse
 75 Ted Turner Drive SW
 Atlanta, GA 30303
 404-581-6000; Fax: 404-581-6181




                                          3
